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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES SECURITIES AND                                    FILED BY
    EXCHANGE COMMISSION,
                                                                           APR D7 2022
                     Plaintiff,
                                                                         c1~~~~\E.    NOBLE
                                                                        S.D. OFF.LA. DIST. CT.
                                                                                     -- WPB.
                V.

    MCC INTERNATIONAL CORP. (DBA
    "MINING CAPITAL COIN CORP."),
    CPTLCOIN CORP., BITCHAIN
    EXCHANGES, LUIZ CARLOS CAPUCI,
    JR. (AKA "JUNIOR CAPUTTI"), and
    EMERSON SOUSA PIRES,

                     Defendants.
    _________________ /

                                      COMPLAINT

          Plaintiff United States Securities and Exchange Commission alleges:

           1.        Defendant MCC International Corp. or "MCC " and its founders,

    defendants Luiz Carlos Capuci, Jr. and Emerson Sousa Pires , offered investors

    an irresistible opportunity. MCC crowed about its thousands of machines, here

    and abroad, that actively mined for cryptocurrency, like Bitcoin. It boasted

    about its team of traders and phalanx of trading robots , who relentlessly found

    and exploited arbitrage opportunities in the stock, foreign exchange, and crypto

    markets. It touted how, by planning to mine for gold in Africa and to drill fo r

    oil in Canada, it would be diversifying its portfolio while hedging its bets.
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          2.     All of which made MCC a most impressive company. But what

    made it an irresistible investment opportunity was its guaranteed returns :

    An eye-popping 1% daily "profit sharing" return, paid weekly. So just one week

    after an investor made her $10 ,000 investment, MCC would pay her $700. A

    week later, another $700. And so on. So that by the time her membership

    expired a year later, her initial $10,000 investment would have ballooned to

    $36 ,400 - a guaranteed annual return of 364%.

          3.     Better still , MCC allowed an investor to easily tap into her returns.

    Each week she could make a request to liquidate her $700 weekly returns. So

    after 15 weeks, she could recoup her $10 ,000 initial investment (and then

    some). And then she still could look forward to 37 more guaranteed installments

    of $700 coming her way, which she could easily liquidate to use as she saw fit.

    All thanks to MCC's profitable mining and trading operations .

          4.     But wait - there was more . Rather than take her profit-sharing

    returns in Bitcoin, MCC offered her a once-in-a-lifetime opportunity to get in

    on the ground floor of its very own newly minted Capital Coin tokens

    ("CPTL"). If Bitcoin was any guide - and really, why wouldn't it be? - if she

    invested her $36,400 in the still nascent CPTL, there was no limit to the wealth

    she could amass once the currency caught on.




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            5.   Tens of thousands of investors in the United States and abroad

    lined up to invest in MCC . Defendants took in at the very least $8 million in

    investor proceeds , although their true haul was likely much, much more.

            6.   As it turned out, an investor could check out ofMCC anytime she

    liked, but her money could never leave. Once she entrusted her hard-earned

    savings to MCC, defendants put up roadblock after roadblock to prevent her

    from cashing out. Worse, they shook her down for still more money - in the

    form of new transaction fees and renewals - if she ever hoped to see her money

    agam.

            7.   MCC was a Potemkin village for the digital age. There was no

    mining for cryptocurrency. No trading robots. No trading. MCC might have

    created its own crypto asset, but it had no real value . MCC had one, and only

    one, source of revenues: Its unsuspecting investors.

            8.   The United States Securities and Exchange Commission ("SEC")

    brings this lawsuit to put an immediate stop to the defendants ' ongoing

    misconduct; to marshal and safeguard assets ; to prevent further harm to

    investors; and to hold defendants accountable for their deception and lies .

                           JURISDICTION AND VENUE

            9.   The SEC brings this action pursuant to Section 20(b) of the

    Securities Act of 1933 ("Securities Act") [15 U .S.C. §77t(b)] and Sections 21(d)

    and 2l(e) of the Securities Exchange Act of 1934 ("Exchange Act") [15 U .S.C.



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    §§78u(d) and 78u(e)].

           10.   This Court has jurisdiction over this action pursuant to Section 22

    of the Securities Act [15 U.S.C. § 77v], Section 27 of the Exchange Act [15

    U.S .C. § 78aa], and 28 U.S.C . § 1331.

          11.    Venue is proper in this Court pursuant to Section 27 of the

    Exchange Act [15 U .S.C . § 78aa] . Acts, practices and courses ofbusiness

    constituting violations alleged herein have occurred within the jurisdiction of

    the United States District Court for the Southern District of Florida and

    elsewhere.

          12.    Defendants directly and indirectly made use of the means and

    instrumentalities of interstate commerce and of the mails in connection with the

    acts, practices, and courses of business alleged herein, and will continue to do

    so unless enjoined.

                                    DEFENDANTS

          13.    Defendant MCC International Corp. (dba "Mining Capital Coin

    Corp.") ("MCC"), established in 2018 , is a Massachusetts corporation

   organized to conduct "general virtual services." In 2018 and 2019, MCC

   maintained an office in Port St. Lucie, Florida. It continues to operate through

   its President, defendant Luiz Carlos Capuci, Jr. MCC is not registered with the

   Commission in any capacity, nor has it ever registered or tried to register any

   offering of securities under the Securities Act or any class of securities under the



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    Exchange Act.

           14.    Defendant CPTLCoin Corp. ("CPTLCoin") , established in 2020 ,

    is a Massachusetts corporation organized to conduct "training and consulting

    on CPTL, management, business administrations." Its principal place of

    business is in Worcester, Massachusetts. CPTLCoin is not registered with the

    Commission in any capacity. CPTLCoin has never registered or tried to register

    any offering of securities under the Securities Act or any class of securities

    under the Exchange Act.

           15.    Defendant Bitchain Exchanges ("Bitchain"), an unincorporated

    organization or association, operated the website bitchainexchanges .com. It

    once listed an office address in Palo Alto , California. Bitchain purports to be a

    crypto asset trading platform that trades CPTL, a crypto asset created by MCC ,

    and defendant Luiz Carlos Capuci, Jr. Capuci registered Bitchain's website .

    About a month later, the website's registrant was changed to "Shawn Lee,"

    purportedly Bitchain's Chief Technology Officer. Bitchain is not registered and

    has never tried to register with the Commission in any capacity. Bitchain has

    never registered or tried to register any offering of securities under the Securities

    Act or any class of securities under the Exchange Act.

           16.   Defendant Luiz Carlos Capuci, Jr. (aka "Junior Caputti")

    ("Capuci"), age 45 , on information and belief recently relocated to Brazil.

    Capuci was living in Port St. Lucie, Florida when the SEC first served him with



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    investigatory subpoenas. He is a citizen of Brazil and the United States. Capuci

    is MCC's founder , president, director, and registered agent. He is also

    CPTLCoin's CEO , president, vice-president, director, treasurer, secretary, and

    registered agent. Capuci is not registered with the Commission or associated

    with a registrant in any capacity.

           17.   Defendant Emerson Sousa Pires ("Pires "), age 32, formerly of

    Fort Myers, Florida, is MCC 's co-founder, former vice-president, secretary,

    treasurer, and director. Upon information and belief, he left MCC around

    November 2020 and now resides in Brazil, where he is a citizen. Pires is not

    registered with the Commission or associated with a registrant in any capacity.

                                         FACTS

                       MCC AND ITS MINING PACKAGES

           18.   In 2017 , Capuci and Pires founded MCC . Capuci and Pires told

    potential investors that MCC made money through "cryptocurrency mining";

    trading stocks and foreign exchange ("forex "); and "trading cryptocurrency" on

    digital asset trading platforms. They claimed MCC worked with the "world's

    leading exchanges" to trade cryptocurrencies through "arbitrage trading

    generating 1% to 1.5% per day." Capuci and Pires told potential investors that

    MCC had traders who conducted "forex trading generat[ing] 0.6% to 1% per

    day," and that MCC operated in the forex market with "semi-automatic robotic

    trading. "



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           19.    Capuci and Pires described for potential investors MCC's robust

    mining operations in Miami, Vermont, and Iceland. MCC 's investor marketing

    materials touted its 45 ,198 active machines that mined Bitcoin.

          20.     In publicly available Facebook videos, Capuci, and Pires

    purported to showcase MCC's mining machines. One such video shows

    equipment, which Capuci describes as "almost 400 machines" in MCC's

    Florida offices that are "mining" and "making money for you guys! " He

    explains that MCC has seven such offices filled with "mining [machines] like

    this ." These machines , Capuci insists in the video , prove that MCC is a "real

    company" with "real machines ," not some "Ponzi scheme. "

          21.     In another Facebook video, a camera pans rows of "mining

    machines " as Pires tells investors: "You can see here, we're mining right now,

    all the time for you, MCC working with the investments , working with the

    money, working with your money, making your money work for you."

          22.     Capuci and Pires told investors and potential investors that MCC

    used investor funds not only to buy and maintain those mining operations , but

    also to mine for gold in Africa and to drill for oil in Canada.

          23.     One MCC slideshow illustrated to prospective investors and

    investors how MCC made money for its investors through its mining

    operations:




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                     MINING PROFIT
                     EXAMPLE:
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           24.   Another MCC slideshow illustrated to prospective investors and

    investors how MCC made money through arbitrage trading:




           25.   And in another detailed slide, MCC calculated for prospective

    investors and investors how MCC made money for its investors through forex

    trading:




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          26.    Defendants explained to investors that they could tap into these

    profits by buying MCC's "mining packages. " While prices varied over time , the

    packages typically ranged from about $125 (for the "bronze package") to $1 .2

    million (for the "MVP Royal package"). In return, MCC guaranteed 52 weekly

    payouts to its members ranging from $10 a week (for "bronze") to $84,000 a

    week (for "MVP Royal"). In its marketing materials , MCC characterized such

    payouts as "Sharing Profit."

          27.    MCC, Capuci, and Pires relied on a multilevel marketing structure

    to solicit new investors. MCC encouraged existing investors to serve as

    "sponsors" who recruited new investors. These sponsors were not MCC

    employees. Rather, MCC would pay such sponsors commissions amounting to

    10% of sales of mining packages made by the sponsor or her downline team.




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           28 .   As another sweetener, MCC promised extravagant gifts -

     including iPads, Apple Watches , a Mercedes C-180, a Range Rover Evoque, a

     Porsche Cayenne, and a Lamborghini Aventador - to those sponsors who

     proved adept at recruiting new investors.

           29.    Capuci and Pires supplemented this multilevel marketing

     compensation structure with an aggressive marketing campaign. This campaign

     included in-person solicitations in Las Vegas , Florida and elsewhere in the

     United States and around the world; live web-based presentations; web-based

     prerecorded videos, like those described above; publicly available Y ouTube

     videos, marketing on social media platforms; and slide shows and other written

     marketing materials.

           30.    To invest in MCC , investors would pay a $50 "initiation fee" and

     select from a menu of "mining packages":




           31 .   In its early days , MCC assured its members that they could easily

     liquidate their MCC investment by following a straightforward roadmap:

     (a) open an account with a third-party crypto asset trading platform; (b) submit

     a withdrawal request on the MCC "back office," which is the website where



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     MCC investors can manage their investment accounts ; (c) transfer Bitcoin from

     their wallets on the MCC back office to their wallets on the third-party crypto

     asset trading platform; and (d) sell the Bitcoin for cash, or hold it as an

     investment.

                   THE CPTL TOKEN, BITCHAJN EXCHANGES,
                              AND CPTLCOIN

            32.    Later, MCC made the redemption process more complicated by

     requiring investors to withdraw their investment in "CPTL" - the newly-

     minted, MCC-created crypto asset. This required the MCC investor to create an

     account on the "Bitchain" website, which in tum required a fee. Capuci

     explained that Bitchain was an independent crypto asset trading platform -

     unaffiliated with MCC - that "listed" and therefore accepted CPTL.

           33.     To imbue Bitchain with legitimacy, Capuci created a website,

     "CPTLCoin." The website stated that CPTL is listed with Bitchain. It

     published CPTL's market value as $2.43 - the same value listed on Bitchain's

     website.

           34.     CPTLCoin also issued a "CPTL whitepaper," which informed

     investors and prospective investors that " [o]ver time, CPTL expects its native

     token to increase in price and market capitalization. This will reward early

     token holders and platform adopters , as well as encourage more users to join."




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            35 .   MCC , Capuci, and Pires directed investors seeking to liquidate

     their investment to transfer assets from their MCC back office wallets to their

     Bitchain wallets. From there , the investment proceeds would be converted to

     CPTL. MCC saddled investors seeking to redeem their investment with another

     transaction fee - this time $100 - which it characterized as a "know-your-

     customer" fee.

            36.    MCC never provided its investors with any notice before imposing

     these added restrictions and fees .

            37.    Defendants made many representations to MCC investors about

     the new CPTL:

              •    There would be a limited supply;

              •    MCC had applied to list CPTL on an established
                   crypto asset exchange platform;

             •     That exchange would list CPTL on its platform no
                   later than July 1, 2021 ;

             •     MCC had completed construction of a e-commerce
                   mall that would accept CPTL in exchange for goods ;

             •     MCC had made arrangements with major hotels and
                   casinos to accept CPTL for payment; and

             •     The MCC Pay application - which, investors were
                   told, was like "Apple Pay," only with CPTL - was
                   already up-and-running in Asia, and was pending
                   authorization in the United States.

           38.     Pires made similar representations to MCC investors about

     CPTL. In an audio recording shared with MCC investors , Pires explained that


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      CPTL would "eventually become decentralized because it will become a

     payment platform, just like the fiat currency we have today." Pires told MCC

     investors that CPTL was now "in the market," and that "we're having casinos

     that are going to be using the coin, we have [a] mall that's going to be using

      CPTL," and "we have MCC Pay that's going to be using CPTL."

                        MCC'S INVESTORS ARE UNABLE
                    TO LIQUIDATE THEIR MCC INVESTMENTS

            39.    When MCC members tried to sell CPTL on Bitchain before their

     one-year membership expired, they immediately encountered a litany of errors

     that stymied their efforts to liquidate their MCC investments. MCC investors

     thus faced an unfortunate choice: Either double-down on their initial MCC

     investment by buying another mining package or walk away from their MCC

     investment, along with any hope of recovery.

            40.    Capuci blamed Bitchain for these problems. Such blame can

     charitably be described as disingenuous, since as it turns out, Capuci was

     Bitchain. Domain registration records reflect that Capuci paid to register

     Bitchain's website and then paid Domains by Proxy LLC to make his domain

     registration of Bitchain private.

           41.     Capuci also managed Bitchain's information technology

     personnel. In a handwritten organizational chart that Capuci created but never

     shared with MCC's investors, Capuci (who refers to himself as "Junior" and




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     "JR") identifies himself as Bitchain's CEO.

            42.       But MCC investors were not informed of defendants' ownership of

     Bitchain. On the contrary, Capuci insisted to investors that he was working with

     Bitchain to resolve its problems. He also tried to "help" the investors in

     webinars by explaining how they could transfer funds from an MCC wallet to a

     Bitchain wallet. And in WhatsApp chats and videos he offered updates on his

     supposedly ongoing dialogue with Bitchain.

            43.       Capuci made short self-filmed videos that he circulated to

     investors via WhatsApp . In one such video , he assures viewers that MCC and

     Bitchain are not the same company and do not have the same owners: "MCC is

     a group which together has MCC , [a mall] , and own about 30%-40% CPTL.

     Bitchain is a separate company, founded by a Brazilian guy," and later sold to a

     Chinese group. He further states: "I don 't own Bitchain. When I give some

     announcements about Bitchain, or videos or audios, it's because I get

     information and I want to send information to you guys . I want to clarify for

     you guys - Bitchain for last 20 days was a little bit slow with transfer and

     withdrawals ; the reason was they were creating [application programming

     interfaces] ."

            44.       When defendants weren't making excuses for Bitchain or blaming

     it, they were blaming the pandemic for the delays. Bitchain joined in,

     publishing a "Bitchain COVID 19 Notice" on its website that attributed delays



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     to the virus .

            45 .      Meanwhile, defendants encouraged MCC 's investors to view the

     glass as half-full: True, they couldn't negotiate, exchange, or do anything else

     with the CPTL they were stuck with. But at least they would be the

     beneficiaries of the inevitably precipitous spike in the value of the crypto asset,

     which was all but assured. Capuci predicted to investors that CPTL's market

     value would increase ten-fold in a single year. Both Capuci and Pires also

     counseled patience, reminding investors that it took several years before

     Bitcoin's value soared.

            46 .      To advance this charade, defendants disguised Bitchain as a

     legitimate crypto asset trading platform. The Bitchain website prominently

     showcased a banner with real-time prices of crypto assets such as Bitcoin,

     Ethereum, Litecoin, Tether, Augur, Tron, Cardano, EOS, TenX, and of course,

     CPTL. In 2021, both Bitchain and the CPTLCoin website listed the value of

     CPTL as $2.43 - seemingly in line with defendants' assurances of the currency's

     inevitable ascendance and the exact quote found on Capuci's website for

     CPTLCoin.

            47.       Bitchain's and CPTLCoin's representation about CPTL's market

     value of $2.43 was good news to MCC investors who believed they had gotten

     in on the ground floor - at the low "promotional" price of $0.10.




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                                       THE TRUTH

           48.       The Truth About Capuci's Background. MCC , Capuci, and Pires

     plied MCC investors and prospective investors with lies about defendants '

     backgrounds. During one live appearance, Capuci told prospective investors

     that he had worked for the FBI for almost eight years. That was a lie. He never

     worked for the FBI.

           49.       The Truth About MCC's "Partnerships." Capuci told prospective

     investors that MCC was a "partner" of the Clinton Foundation. Along the same

     lines , MCC boasted that it had partnered with "The World Bank to secure an

     investment in ECO friendly power generators." There were no such

     partnerships.

           50.       The Truth About MCC's Mining. When questioned about MCC's

     use of mining machines during testimonies taken by the SEC in 2021 and 2022,

     Capuci and Pires both invoked their Fifth Amendment privilege against self-

     incrimination. In earlier SEC testimony in 2020 , they had testified that MCC

     had some mining machines in the United States but "never used them" because

     one mining machine alone "uses more electricity than the whole building. " On

     information and belief, MCC has no assets or presence in either Vermont or in

     Iceland.

           51.       The Truth About MCC's Trading. MCC has admitted to the SEC

     that it never had trading robots and never engaged in any trading. When the



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     SEC questioned Capuci and Pires about MCC's trading platform, they invoked

     their Fifth Amendment rights against self-incrimination.

            52.    The Truth About Investor "Profits" & The Value of CPTL. The

     portal or "back office" MCC established to interface with investors reflected the

     accrual of the supposed I% daily profits in each investor account. This provided

     comfort to investors that MCC was consistently earning them reliable,

     significant profits.

            53.    Bitchain assured investors that the CPTL accumulating in their

     accounts ranged in value from thousands of dollars to hundreds of thousands of

     dollars. The ugly truth was that any one of these account statements grossly

     exceeded the cumulative value of all CPTL. On a day when the CPTLCoin

     website listed the value of CPTL as $2.43 , its actual closing value was $.000605 .

     On a day when Bitchain listed CPTL 's value as $2.43 , its actual closing value

     was $.00032. The profits posted on MCC 's "back office" and the value of CPTL

     were figments of defendants ' active imaginations.

            54.    So too were defendants' statements about CPTL. Defendants had

     never applied for CPTL to trade on a legitimate crypto asset trading platform.

     There was no casino , hotel, or mall with stores that accepted CPTL. There was

     no Apple Pay-like app that used CPTL. In short, no investor - or anyone, for

     that matter - has ever successfully withdrawn, sold, traded or otherwise used

     their CPTL.



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                DEFENDANTS HAVE PROFITED HANDSOMLY
             FROM THEIR SCHEME AT THE INVESTORS' EXPENSE

            55.   While MCC members have been unable to withdraw their

     investment proceeds , defendants ' scheme has proven wildly successful - but

     only for defendants . Their scheme attracted tens of thousands of investors , over

     a thousand of whom live in the United States, including within the Southern

     District of Florida. MCC and Capuci maintained an investor list showing

     65,535 investor accounts. Conservatively, defendants netted at least $8.1

     million from the sale of mining packages and $3 .2 million in initiation fees.

     More likely, they made far more than that.

           56.    Defendants have misappropriated much of these proceeds. Capuci

     and Pires have paid themselves generous salaries, ranging from $5 ,000 to

     $20,000 a month in Bitcoin each. Further, at a time when MCC was Capuci's

     only source of income, he spent millions to fund a lavish lifestyle. He bought

     two Ferraris , a Lamborghini, a Mercedes, a yacht, and real estate, among other

     extravagant purchases.

           57.    Pires, for his part, has spent about $10.9 million during the

     relevant period, some of which he used to buy real estate , a Mercedes , a Harley

     Davidson, a Land Rover, and a Lamborghini.




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                                         COUNTI

                  Violations of Sections S(a) and (c) of the Securities Act
                      (Against Defendants MCC, Capuci, and Pires)
            58.    Paragraphs 1 through 57 are realleged and incorporated by

     reference.

            59.    At all times alleged in this Complaint, no registration statement

     was filed or in effect with the Commission pursuant to the Securities Act with

     respect to the securities and transactions issued by MCC described in this

     Complaint, and no exemption from registration existed with respect to these

     securities and transactions .

            60.    Since at least 2018 , defendants MCC , Capuci, and Pires , directly

     and indirectly:


          (a)     made use of any means or instruments of transportation or
                  communication in interstate commerce or of the mails to
                  sell securities , through the use or medium of a prospectus
                  or otherwise;

          (b)     carried or caused to be carried securities through the mails
                  or in interstate commerce, by any means or instruments of
                  transportation, for the purpose of sale or delivery after sale;
                  or

          (c)     made use of any means or instruments of transportation or
                  communication in interstate commerce or of the mails to
                  offer to sell or offer to buy through the use or medium of
                  any prospectus or otherwise any security,

     without a registration statement having been filed or being in effect with the




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     Commission as to such securities.

           61.    By reason of the foregoing, defendants MCC , Capuci, and Pires

     violated and, unless enjoined, are reasonably likely to continue to violate

     Sections 5(a) and 5(c) of the Securities Act, 15 U .S.C. §§ 77e(a) and 77e(c).


                                         COUNT II

                     Violations of Section l 7(a) of the Securities Act
                                (Against All Defendants)
            62.   Paragraphs 1 through 57 are realleged and incorporated by

     reference as though fully set forth herein.

           63.    By engaging in the conduct described above , defendants , in the

     offer and sale of securities, by the use of the means and instruments of

     transportation or communication in interstate commerce or by use of the mails ,

     directly or indirectly , have (a) employed devices , schemes and artifices to

     defraud; (b) obtained money and property by means of untrue statements of

     material fact and by omitting to state material facts necessary to make the

     statements made, in light of the circumstances under which they were made,

     not misleading; and (c) engaged in transactions , practices, and courses of

     business which operated or would operate as a fraud or deceit upon the

     purchasers of such securities.

           64.    Specifically, all defendants violated Sections l 7(a)(l) and l 7(a)(3)

     of the Securities Act. Defendants MCC, Capuci, and Pires further violated




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     Section 17(a)(2) of the Securities Act.

            65.    Defendants acted knowingly, or with extreme recklessness , in

     engaging in the fraudulent conduct described above.

            66.    Defendants also acted negligently in engaging in the conduct

     described above.

            67.    By engaging in the conduct described above, defendants violated

     Sections l 7(a)(l) , l 7(a)(2), and l 7(a)(3) of the Securities Act [15 U .S.C. §§

     77q(a)(l) , 77q(a)(2), and 77q(a)(3)] in the manner set forth above.


                                          COUNTID

                     Violations of Section 10(b) of the Exchange Act,
                              and Exchange Act Rule 10b-5
                                (Against All Defendants)
            68 .   Paragraphs 1 through 57 are realleged and incorporated by

     reference .

            69.    As more fully described in paragraphs 1 through 57 above,

     defendants , in connection with the purchase and sale of securities , by the use of

     the means and instrumentalities of interstate commerce and by the use of the

     mails, directly and indirectly: used and employed devices , schemes and artifices

     to defraud; made untrue statements of material fact and omitted to state

     material facts necessary in order to make the statements made, in light of the

     circumstances under which they were made, not misleading; and engaged in

     acts , practices and courses of business which operated or would have operated



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     as a fraud and deceit upon purchasers and sellers and prospective purchasers

     and sellers of securities.

            70.    Specifically, all defendants violated Rule 10b-5(a) and (c) of the

     Exchange Act. Defendants MCC , Capuci, and Pires further violated Rule 10b-

     5(b) of the Exchange Act.

            71.    Defendants knew, or were reckless in not knowing, of the facts

     and circumstances described in paragraphs 1 through 70 above.

            72 .   By reason of the foregoing , defendants violated Section l0(b) of

     the Exchange Act [15 U.S.C . §78j(b)] and Rule l0b-5 thereunder [17 C.F.R.

     240 .1 0b-5] in the manner set forth above.

                                        COUNT IV

                                 Control Person Liability
                           (Against Defendants Capuci and Pires)

            73 .   Paragraphs 1 through 57 are realleged and incorporated by

     reference .

            74.    At all relevant times , Capuci and Pires have been, directly or

     indirectly, control persons of MCC for purposes of Section 20(a) of the

     Exchange Act, 15 U .S.C. § 78t(a).

            75.    MCC violated Section l0(b) and Rule l0b-5 of the Exchange Act.

     As control persons ofMCC, Capuci and Pires are jointly and severally liable

     with and to the same extent as MCC for violations of Section l0(b) and Rule




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     10b-5 of the Exchange Act.

                                   RELIEF REQUESTED

            WHEREFORE, the Commission respectfully requests that this Court:

                                              I.

            Issue permanent injunctions restraining and enjoining defendants from

     violating Sections 5(a), 5(c), and l 7(a) of the Securities Act [15 U .S.C . §§

     77e(a) , (c) , and 77q(a)]; and Section l0(b) of the Exchange Act [15 U.S.C. § 78j]

     and Rule l0b-5 [17 CFR § 240.l0b-5] thereunder, and from soliciting any new

     investors ; accepting additional funds from existing investors ; or issuing,

     purchasing, offering, or selling any security.

                                              II.

            Order defendants to disgorge the ill-gotten gains received because of the

     violations alleged herein, including prejudgment interest, pursuant to Section

     2l(d)(5) and 2l(d)(7) of the Exchange Act [15 U.S .C. §§ 78u(d)(5) , and

     78u(d)(7)].

                                              III.

            Order defendants to pay civil penalties pursuant to Section 20( d) of the

     Securities Act [15 U .S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

     U.S .C . § 78u(d)(3)].




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                                            IV.
           Permanently bar defendants Capuci and Pires from serving as an officer

     or director of any company that has a class of securities registered pursuant to

     Section 12 of the Exchange Act [15 U.S.C. § 781] or that is required to file

     reports pursuant to Section 15(d) of the Exchange Act [15 U .S.C. § 78o(d)],

     pursuant to Section 2l(d)(2) of the Exchange Act [15 U.S.S. § 78u(d)(2)].

                                            V.

           Grant such other relief as this Court deems appropriate.

                                    JURY DEMAND

           The Commission hereby requests a trial by jury.


                                                  UNITED STATES SECURITIES
                                                  AND EXCHANGE COMMISSION



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                                                  One of Its Attorneys


     Jonathan S. Polish
     Senior Trial Counsel
     S.D. Fla. No . A5502869
     Direct Dial: (312) 353-6884
     Email: PolishJ@SEC.gov

     Christine B. Jeon
     S.D. Fla. No. A5502884
     Senior Counsel
     Direct Dial: (312) 353-7419
     Email: JeonC@SEC.gov


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     Devlin Su
     Senior Counsel
     S.D . Fla. No. A5502883
     Direct Dial: (312) 596-6012
     Email: SuDe@SEC.gov

     Attorneys for Plaintiff
     UNITED STATES SECURITIES
      AND EXCHANGE COMMISSION
     175 W. Jackson Blvd., Suite 1450
     Chicago, Illinois 60604
     Tel: (312) 353-7390

     Date: April 7, 2022




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